  20-01061-shl
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  UNITED STATES BANKRUPTCY COURT
  FOR THE SOUTHERN DISTRICT OF NEW YORK
   -------------------------------------------------------------- x      Ch. 11
   In re:
                                                                         Case. No 18-13359 (SHL)
                                2
      Miami Metals I, et al. ,
                                                                         (Jointly Administered)
      -------------------------------------------------------------- x

      Coöperatieve Rabobank U.A., New York Branch, et
      al.,                                                               Adv. Pro. No. 20-01061-SHL

                                Plaintiffs,

              v.

      Crowe LLP,

                                 Defendant.
      -------------------------------------------------------------- x
                     ORDER GRANTING MANDATORY ABSTENTION AND REMAND

             Upon the timely motion, dated August 7, 2019 (the “Motion”), of plaintiffs Coöperatieve

  Rabobank U.A., New York Branch; Brown Brothers Harriman & Co.; Bank Hapoalim B.M.;

  Mitsubishi International Corporation; ICBC Standard Bank PLC; Techemet Metal Trading, LLC;

  Woodforest National Bank; and Hain Investors Master Fund, LTD (collectively, the “Plaintiffs”)

  in the above-captioned Adversary Proceeding for an order, pursuant to 28 U.S.C. § 1334(c), §

  1447(c), § 1452(b), for the Court to abstain from exercising jurisdiction and to remand the case

  to the Circuit Court of the 11th Judicial Circuit in and for the State of Florida, where it was

  originally filed; the defendant Crowe LLP (“Defendant”) having filed objections to the Motion;




  2
    The Debtors in the Chapter 11 cases titled In re Miami Metals I, Inc., et al., Case No. 18-13359, include:
  Miami Metals I, Inc. (f/k/a Republic Metals Refining Corporation); Miami Metals II, Inc. (f/k/a Republic Metals
  Corporation (“RMC”)); Miami Metals III LLC (f/k/a Republic Carbon Company, LLC); Miami Metals IV LLC
  (f/k/a J & L Republic LLC); Miami Metals V LLC (f/k/a R & R Metals, LLC); Miami Metals VI (f/k/a RMC
  Diamonds, LLC); Miami Metals VII (f/k/a RMC2, LLC (“RMC2”)); Miami Metals VIII (f/k/a Republic High Tech
  Metals, LLC); Republic Metals Trading (Shanghai) Co., Ltd.; and Republic Trans Mexico Metals, S.R.L.
  (collectively, the “Debtors”).
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  and the Court having jurisdiction to decide the Motion and the relief requested therein under 28

  U.S.C. § 157(a); after due deliberation and for the reasons set forth in the Court’s Memorandum

  of Decision, dated March 24, 2021 [ECF No. 30], finding that the requirements for mandatory

  abstention had been met under 28 U.S.C. § 1334(c), which are incorporated in this Order as if

  fully set forth herein,


          IT IS HEREBY FOUND THAT:

          A.      Plaintiffs initially commenced an action against Defendant (the “Action”) by

  filing a Complaint on June 24, 2019 in the Circuit Court of the 11th Judicial Circuit in and for

  Miami-Dade County, Florida (the “Florida State Court”). The Action initially bore the caption

  Coöperatieve Rabobank U.A., New York Branch, et al. v. Crowe LLP, Case No. 2019-018945-

  CA 01 (Fla. Cir. Ct.), and was pending before the Honorable William Thomas.

          B.      Defendant removed the Action from the Florida State Court to the United States

  District Court for the Southern District of Florida on July 25, 2019. Thereafter, the Action bore

  the caption Coöperatieve Rabobank U.A., New York Branch, et al. v. Crowe LLP, Case No. 1:19-

  cv-23100-DPG (S.D. Fla.), and was pending before Honorable Darrin P. Gayles.

          C.      While the Action was pending in the Southern District of Florida, on August 7,

  2019, Plaintiffs moved for abstention and remand of the Action to the Florida State Court and

  Defendants moved for transfer of the Action to the United States District Court for the Southern

  District of New York. On February 20, 2020, the District Court granted Defendant’s motion to

  transfer the Action to the Southern District of New York without ruling on Plaintiffs’ motion for

  abstention and remand.

          D.      The Action was then transferred to the Southern District of New York, where it

  bore the caption Coöperatieve Rabobank U.A., New York Branch, et al. v. Crowe LLP, Case No.



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  1:20-01556-LGS (S.D.N.Y.), and was pending before the Honorable Lorna G. Schofield. The

  District Court, by order dated March 16, 2020, referred the Action to this Court. The Action now

  bears the caption Coöperatieve Rabobank U.A., New York Branch, et al. v. Crowe LLP, Adv. No.

  20-01061 (SHL).

         E.      While the Action was pending in this Court, the parties filed supplemental

  briefing on the issue of abstention and remand.

         F.      This Court, having determined that the conditions for mandatory abstention as set

  forth in 28 U.S.C. 1334(c)(2) were met, issued a Memorandum of Decision granting Plaintiffs’

  motion for abstention and remand and setting out the reasons therefor.

         IT IS HEREBY ORDERED THAT:

         1.      Plaintiffs’ August 7, 2019 motion is GRANTED, and the Court hereby

  ABSTAINS from exercising jurisdiction over the Action under 28 U.S.C. § 1334(c)(2); and

         2.      The Clerk of Court is directed to TRANSFER this case to the United States

  District Court for the Southern District of Florida, pursuant to 28 U.S.C. § 157(b), 28 U.S.C. §

  1412, and Bankruptcy Rule 7087, with a recommendation that the District Court for the Southern

  District of Florida REMAND the case to the Circuit Court of the 11th Judicial Circuit in and for

  Miami-Dade County, Florida, pursuant to 28 U.S.C. § 1452(b); and

         3.      This Court shall retain jurisdiction solely to interpret and enforce this Order.

   Dated: April 9, 2021
          New York, New York
                                                        /s/ Sean H. Lane
                                                        United States Bankruptcy Judge




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                 United States Bankruptcy Court for the
                      Southern District of New York




             This page certifies that document is a True Certified Copy




                                I HEREBY ATTEST AND CERTIFY ON 4/16/2021
                                THAT THIS DOCUMENT IS A FULL, TRUE AND CORRECT
                                COPY OF THE ORIGINAL FILED ON THE COURT'S
                                ELECTRONIC CASE FILING SYSTEM.

                                CLERK, US BANKRUPTCY COURT, SDNY

                                BY: /s/ Annya Acosta DEPUTY CLERK
